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                                     EXHIBIT B
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          The following docket entries appear to be in redacted form or entirely under
  seal:
  76-1 (also under seal at 78-1),
  76-2 (also under seal at 78-2),
  76-5 (also under seal at 78-4),
  76-9 (also under seal at 78-8),
  76-14 (also under seal at 78-13),
  76-15 (also under seal at 78-14),
  76-16 (also under seal at 78-15),
  76-17 (also under seal at 78-16),
  76-18 (also under seal at 78-17),
  76-19 (also under seal at 78-18),
  76-20 (also under seal at 78-19),
  76-24 (also under seal at 78-23),
  76-27 (also under seal at 78-26),
  76-28 (also under seal at 78-27),
  76-34 (also under seal at 78-33),
  76-35 (also under seal at 78-34),
  76-37 (also under seal at 78-36),
  76-40 (also under seal at 78-39),
  76-41 (also under seal at 78-40),
  76-42 (also under seal at 78-41),
  76-43 (also under seal at 78-42),
  76-44 (also under seal at 78-43),
  76-45 (also under seal at 78-44),
  76-46 (also under seal at 78-45),
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  76-47 (also under seal at 78-46),
  76-50 (also under seal at 78-49),
  76-51 (also under seal at 78-50),
  78 (all under seal),
  95 (also under seal at 96-11, refiled with “proper redactions” at 99),
  95-1 (also under seal at 96-12),
  95-2 (also under seal at 96-13),
  95-4 (also under seal at 96-1),
  95-5 (also under seal at 96-2),
  95-6 (also under seal at 96-3),
  95-10 (also under seal at 96-4),
  95-12 (also under seal at 96-5),
  95-20 (also under seal at 96-6),
  95-23 (also under seal at 96-7),
  95-24 (also under seal at 96-8),
  95-26 (also under seal at 96-9),
  95-34 (also under seal at 96-10),
  96 (all under seal), and
  99.
